EXHIBIT B

 

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‘-01/13/2005 THU_lZ¢OO FAX -208]___'9_,9?,4'14-

ID.

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QUANTIC°. VlR

 

Mr. Ben Keeley, SVSO
State Of Ideho Division of Veterans
821 2lst Avenue § _
Lewiston, ID 83501-6392

Dear Mr. Keeley: j §

This is in further reply to your letter of January 23,

Personnel Management §Support Branch
referred to the National Personnel
for rep y regarding awards for Mr.
while a member of the U 3 Marine C
forwarded to this office for our.re
award entitlement/verification.

We have thoroughly reviewed the
or Discharge from Active Duty (DD F

§_you submitted on behalf of Mr. Swisher with your request.
ments you provided do not exist in Mr Swisher's official file.
>f the same date was signed by Mr.

official DD Form 214 1n his record

sTATE vETERAN$ svs

Records’©enter,
Elven J. Swisher for his service

orps.
view and.comments concerning his`

§ DEF'ARTME[\ T OF THE NAVY

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Services

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2004, to the
Of this Headquarters, which was
St. Louis; Missouri

Your letter was subsequently

copy of the Certificate of Release

arm 214) and supporting letter which

The.docu~
The

Swisher and does not§contain any awards information in box 26, and

contains no “wounds”‘information in
DD 214 is provided as-the enclosure
reason to believe‘that the document

 

Specifically, the DD 214 you s

box 27. A copy of his official
Given this information we have
you submitted are not authentic.

mitted on behalf of Mr. Swisher

indicates that Mr. Swisher is entit ed to the Silver Star'Medal, Navy§

and Marine Corps Medai (Gold Star i

lieu of the Second Award), Purple

Heart, and Navy and Marine Corps Conmendation Medal with Combat “V.”

However, our review of his official

military records, those of this

Headquarters, and the;§ Navy Department Board of Decorations and Medalsr\,
.failed to reveal any 1nformation thit~would indicate that he was ever '_

recommended for,

or awarded any personal decoration.

Additionally, the Navy and Marime Corps Commendation Medal, which

is listed in block 26 of the DD 214
the time of Mr. Swisher's transfer t.
On March 22,1950, a Metal Pendant
tion with a Letter of§ Commendation
September 21,1960, the Secretary of
award to the Navy Commendation Medal
Secretary of the Navy renamed the me
Commendation Medal. lt is impossibl
have signed an official document in
entitlement to a personal decoration
form until 1994.

that you submitted did not exist et
o the Marine Corps Reserve in 1957.
as authorized for issue in connec-
nd commendation ribbon. On

the Navy changed the name of the
. On Angust 19, 1994, the _
dal as the Navy and 'Marine Corps
e that the approving officer could
1957 indicating Mr. swisher‘s ”`
which did not exist in its present

 

IN REFLY REFER TO;

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01/13/2005 THU 12¢01 FAX 2087993414 ID

Further review of Mr. Swisher'
entitled to any service awards, inc
Expeditionary Medal, for his servic
Mr. Swisher's official military rec
tion that he served in Korea during
authorized. His records show that l
Yokosuka, Japan from March 4, 1955

There is no information in his
record to substantiate his entitled
medical records show that on Februa
private vehicle accident near Port

Marines who are recognized witt
decoration for their performanceq a
involved in classified military cpe
citation that contains non-specific
service of the Marine. However, we
was involved in any classified oper

Given`all of these facts, we mu
contained in Mr. Swisher's official
documents you submitted on his beha
Swisher's official records do not s
awards, we will take no further act
to the National Personnel Records C
will be filed in Mr. Swisher’s offi

since

K.H>-

K. G-
_ Lieut
Assis
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Comma

11 Certificate of Relea
From Active Duty (DD

Enclosure:

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. STATE VETERANS SVS -002

s records reveals that he is.not
'luding the Marine Corps

e in the U.S. Marine Corps.

ords failed to indicate any informa-
the period when any awards were

e was stationed at Camp Fuji-and'
to May G, 1956. '

military record or his medical
ent to a Purple Heart medal. His
ry lO, 1957, he was involved in a
Townsend, Washington.-

a Navy and Marine Corps personal
ctions~er~meritorious-service.while
rations may receive an award-
information about the actions or
found no evidence that Mr. Swisher
ations. ' -

st base our analysis on what is
military record, and not the
lf. Accordingly, since Mr.

upport his entitlement to any`

ion. His records will be returned
enter, and a copy of this letter
cial military recordsi

rely,

DOWLING

enant Colonel, USMCR _

tent Head, Military Awards Branch
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ddanE¢of"Eh§"nariné`éo§p§" ““"”m`
se or Discharge

Form 214)

 

 

 

David R. Hinkson, #08795-023
USP Atwater

U.S. Penitentiary

P.O. Box 019001

Atwater, California 95301

 

 

In Propria Persona
lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF I])AHO
UNITED STATES OF AMERICA ) Case #: CR-04-0127-S-RCT
)
Plaintiff, )
) DEFENDANT HINKSON’SMEMORANDUM
VS ) IN SUPPORT OF M
) lNEFFECTIVE ASSISTANCE OF COUNSEL,
David Roland Hinkson, ) AS IS HEREBY APPENDED TO HINKSON’S
) MOTION TO VACATE THE CONVICTION
Defendant. ) AND SENTENCE UNDER SECTION 2255,
) TITLE 28 U.S.C.
)

Memorandum in support oinnson’s 2255 Motion to Vacate the Conviction and Sentence,
Ground Four, Ineffective Assistance of Counsel. Therc may be additional facts developed during
discovery and evidentiary hearing(s) in this 2255 proceeding and this memorandum is filed
expressing the reservation of rights to more fully develop the facts and evidence surrounding the
claim ofIAC. The defendant is fully aware that lAC claims are generally not sufficiently developed
in the trial record and need to be much more fully examined during a proceeding such as this instant

matter

Attorney Nolan’s position is spread over several memos Written over several days in late

Memorandurn in Support of Hinkson 2255
Ground four: Ineifective Assistance of Counsel -l-

 

January and early February 2005, right after trial. These memos are attached hereto as EXHIBIT
D-l. Also attached are EXHIBITS D-2, Affidavit of Hoyt, and D-3. Affidavit of Towerton, AL:L
OF WHICH are fully incorporated herein by this reference as if they were fully set forth herein.
Summary of Attorney Nolan’s failure to meet an objectively
reasonable standard of performance
l. Attorney Nolan was always confused by this case and he admits it. He Was confused about
the counts, and he said so several times. He was confused as to Who the witnesses Were,
what they had to say, and why their testimony was relevant, and why certain evidence was
relevant to Hinkson’s defense.
2. Attorney Nolan admits he was ineffective because he did not prepare for the trial and did not

perform during trial because he was confused as to the Dowling Report of December 30,

2004, as to the witnesses and as to the various counts.

a. The problem with Mr. Nolan was that he refused to review any files or do any
analysis of the investigation that was available and then he did not pay attention to
the accumulated information gathered for him to use in cross examination

b. Even when cross examination questions were Written down in simplified form on
3 X 5 cards, designed to draw out exculpatory points from each witness, Mr. Nolan
refused to ask those questions, because he was confused.

c. On the one occasion when Mr. Nolan made a well-founded motion for mistrial, then
withdrew it shortly afterward when pressured by the trial judge who was biased in
favor of the government

d. After withdrawing that motion, Mr. Nolan refused to make any other motions for

Memorandum in Support of Hinkson 2255
Ground four: Ineffective Assistance of Counsel -2-

 

mistrial, even though the trial record reflects other opportunities to do so. lt was as

if Mr. Nolan Was frozen and would not defend Mr. Hinkson because of confusion.

3. Any decision that he might allege to have been tactical, had no tactical advantage to Mr.

Hinkson but rather was in actuality a tactical decision unwittingly designed to help the
Government win its case because of Nolan’s confusion.

a. There were hundreds of pages of Swisher deposition testimony from suits in 1996-

1999 for fraud by Swisher related to his mining claims and a secret process for

extracting gold which attorney Nolan refused to look at.

b. There were many pages of Swisher’s prior grand jury testimony which attorney
Nolan refused to look at.
c. There was an entire file regarding the prosecution of Swisher for raping all three of

his daughters 1975-1980 when each of them was under 10 years of age; and proof
that this child molestation case had ultimately dismissed through more fraud as
engineered by Swisher, which attorney Nolan refused to look at.

d. There was the file and lawsuit papers, including transcripts of trial and Swisher’s
testimony from the WaterOz takeover case of December 2003 through February
2004, which would have given Nolan insight into a direct fraud by Swisher against
Mr. Hinkson in an effort to extort money and an interest in the WaterOZ business
which attorney Nolan refused to look at.

4. Attorney Nolan wrote that he thought he did not fall below “the standard of care,” but at the
same time and in the same memo he admits his poor performance was far below what is
acceptable for a trial attorney.

Memorandum in Support of Hinkson 2255
Ground four: lneffective Assistance of Counsel -3-

 

a. Nolan admits that he was given a singular opportunity to take home Swisher’s
military file and look at it overnight, but he admits that he refused to review that file;
although he gave pretense the next day to co-counsel and the defendant that he had
done so. lf that level of performance isn’t falling below the Strickland standard, What
is?

b. Nolan’s admission that he willfully refused to even look at the military file, reveals
a repeated pattern of deliberate neglect of relevant facts and information supplied by
the defense team. See EXH[BIT D-2, Affidavit of Hoyt.

5 . Attorney Hoyt rented a separate hotel room before the trial started, and created an onsite
office; he had the bed pulled out of the room, set up two desks and 5 tables and had 15 boxes
of defense materials which included all the above information Attorney Hoyt, in
consultation With Nolan, set dates and times for meetings with him and was fully prepared
and ready to give a full and detailed briefing to Nolan. Nolan repeatedly missed those
meetings, or on the rare occasion that he showed up, all Nolan wanted was his check and
when he got it, he abruptly left town. See EXHIBIT D-2, Affidavit of Hoyt.

6. Attorney Hoyt admits (Affidavit ofHoyt) that he was operating below the standard and could
never have taken on this case by himself. As lead counsel, Nolan was supposed to
professionally guide and act as FIRST CHA]R lN THE DEFENSE TEAM, in the
proceedings The problem was he refused to provide any guidance, do any meaningful
preparation or otherwise lead or even assist in developing the defense. Nolan admits that
these allegations are true and that his statement that he did not operate below the standard
is subject to challenge For example, he never met with his client, David Hinkson, to help

Memorandum in Support of Hinkson 2255
Ground four: Ineffective Assistance of Counsel -4-

 

prepare the defense, even a single time in advance of trial. See EXHIBIT D-l, Memos from

Nolan, and EXHIBIT D-2, Affidavit of Hoyt.

a. lt is amazing that Mr. Nolan admits that on the one occasion that he had the
opportunity to take the Swisher’s Military file home with him overnight, and
willfully decided not to look at it. Such a failure to act is grossly below the standard
expected of a reasonable defense attorney.

b. Attorney Nolan writes he could “kick” himself for not going after Swisher on cross
examination Such a failure to act is well below an objectively reasonable standard
of attorney competence. (“I still kick myself for not going after him and cross
examining him.” See EXHIBIT D~l, pg 2, Memo from Nolan dated 1/31/05.)

c. Attorney Nolan implies he made a tactical decision to drop the Motion for Mistrial.
Nolan stated that he knew the only issue in the case was Swisher’s credibility. See
EXHlBIT D-l, pg 5, Memo from Nolan dated Feb l l, 2005, so that armed with that
knowledge, such a failure is well below an objectively reasonable standard of
attorney competence.

d. Nolan mentions as if it was an important issue that he could not establish a financial
interest in WaterOz for either Bellon or Swisher with which to impeach them because
neither witness would admit it on the witness stand. But, although Nolan was told
about the Bellon/Swisher takeover of WaterOz by Temporary Restraining Order,
attorney Nolan refused to use that highly damaging information showing the use of
force to take what was not theirs in order to impeach them, see EXHIBIT D-3,
Affidavit of Towerton. Again, Nolan was confused and missed the point that any

Memorandum in Support of Hinkson 2255
Ground four: Ineffective Assistance of Counsel -5-

 

reasonable attorney would have seen: that both witnesses, conspired to take over
WaterOZ by the force of a TRO and they succeeded for a short period of time. And
that takeover gave them control, which is the same as a financial interest. And they
used the takeover and financial interest to steal valuable assets of WaterOz while Mr.
Hinkson was in jail and could not timely defend himself causing permanent damage
to the business, EXHIBIT D-3, Affidavit of Towerton. There was evidence that
Bellon contacted a business broker who would have testified that Bellon called
within minutes of the issuance of the TRO and demanded that the broker find a buyer
for WaterOz; which explains how it was that Messers Bellon and Swisher were really
going to “save the company” once they had gained control over it by TRO (i.e., they
were going for a quick sale and were obviously going to split the profits while
Hinkson was in jail). What more Would any attorney who met the standard of
objective reasonableness need to know than Swisher and Bellon obtained a
controlling interest in WaterOz by force through a TRO and thus had an expectancy
of a financial interest in the business (albeit for only a few days until the TRO was
vacated).

7. Nolan’s criticism of the defense team for failing to obtain Swisher’s military file was
warranted and he, as the one directing the defense and the defense team completely failed
Mr. Hinkson with regard to this matter.

8. Attorney Nolan was incompetent with regard to the defense of Mr. Hinkson in this case and
attorney Hoyt is prepared to so testify as to these and other matters by which Mr. Hinkson
was denied effective assistance of counsel by Nolan. See EXHIBIT D-2, Affidavit of Hoyt.

Memorandum in Support of Hinkson 2255
Ground four: Ineffective Assistance of Counsel -6-

 

9. Attorney Nolan’s conduct, both Where it was wilful and where it was incompetent, was both
unprofessional and below the Strickland standard of objective reasonableness lt also
prejudiced Mr. Hinkson because he was unable to meaningfully assist in the preparation of
his own defense and he Was Wrongfully convicted as a direct result of Nolan’s ineffective
assistance of counsel.

WHEREFORE, as a result of these failings Nolan’s defense of Mr. Hinkson was structurally
deficient, lacking adequate preparation, and without proper performance in the execution, denying

Mr. Hinkson his lV Amendment right to counsel and a fair trial and prejudicing him thereby.

Memorandum in Support of Hinkson 2255
Ground four: Ineffective Assistance of Counsel -7-

 

